               Case 1:21-cr-02019-SAB             ECF No. 3         filed 07/13/21     PageID.4 Page 1 of 1


                                              CHARGES AND PENALTIES

        CASE NAME: _______________________________
                   Israel Mendoza Salas            CASE NO.                                  1:21-CR-2019-SAB-1
                                                                                            ______________________
                                                                                                              FILED IN THE
                                                                                                          U.S. DISTRICT COURT
                                                    ✔                                               EASTERN DISTRICT OF WASHINGTON
                                    1
                TOTAL # OF COUNTS: _______      _________FELONY     _________MISDEMEANOR    _________PETTY OFFENSE

                                                                                                       Jul 13, 2021
                                                                                                          SEAN F. MCAVOY, CLERK



Count            Statute                   Description of Offense                                    Penalty

                                                                           Up to 10 years imprisonment;
        18 U.S.C. §§ 922(g)(5),                                            up to $250,000 fine;
  1                               Alien in Possession of Firearm
        924(a)(2)                                                          up to 3 years supervised release; and
                                                                           a $100 special penalty assessment


        18 U.S.C. § 924(d)(1),
                                  Forfeiture Allegations
        28 U.S.C. § 2461(c)
